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                                UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEBRASKA
Denise M. Lucks                          OFFICE OF THE CLERK                                             Gabriela Acosta
Clerk of Court                                    www.ned.uscourts.gov                                Chief Deputy Clerk




   TO:             The Honorable John M. Gerrard

   FROM:           Clerk, United States District Court

   DATE:           June 24, 2024

   SUBJECT:        4:17-cr-03121-JMG-CRZ USA v. Turner

   You are receiving this memorandum because a notice of appeal was filed in this criminal
   case and the clerk’s office cannot process the appeal to the Eighth Circuit until either the
   appellate filing fee is paid or the question of the defendant’s authorization to proceed on
   appeal in forma pauperis is resolved.1

   In order to assist the clerk’s office in its processing of this appeal, please mark the
   appropriate box:

   ☒ No separate order will be entered because the defendant is entitled to proceed on
   appeal in forma pauperis without further authorization pursuant to Rule 24(a)(3) of the
   Federal Rules of Appellate Procedure.

   ☐ A separate order or further proceedings will be required to address the defendant’s
   authorization to proceed in forma pauperis. The clerk’s office ☐ is ☐ is not directed to
   set a 30-day case management deadline checking on the status of the processing of this
   appeal.




           1 The purpose of this memorandum is to assist in the timely processing of this appeal by notifying

   you that one or more issues may require your attention before the clerk’s office can process the appeal.
   Please feel free to disregard this memorandum if the issue or issues raised will be addressed by a separate
   order.

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